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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

THE MCDONNEL GROUP, LLC                        CASE NO. 2:18-cv-01380-JTM-JCW

VERSUS                                         SECTION: H

STARR SURPLUS LINES INSURANCE                  DIVISION: 2
COMPANY
                                               JUDGE: JANE TRICHE MILAZZO

                                               MAGISTRATE JUDGE: JOSEPH C.
                                               WILKINSON


           MEMORANDUM IN OPPOSITION TO MOTION TO
    STRIKE EXHIBITS L AND M FROM THE JUNG, LLC’S OPPOSITION
     TO DEFENDANTS’ FIRST MOTION FOR SUMMARY JUDGMENT


MAY IT PLEASE THE COURT:

      The defendants have filed a Motion to Strike Exhibits L and M from The Jung,

LLC’s Opposition to Defendants’ First Motion for Summary Judgment (“First Motion”).

The Jung, LLC (“Jung”) opposes this motion.

      The motion further underscores the prematurity of the First Motion. The defendants

seek a summary judgment when only one deposition has been completed in this case, and

now move to strike the pertinent portions of the only deposition that has been completed.

Obviously the defendants would like the Court to only have the benefit of the defendants’

evidence, but that is not the way the summary judgment process works. Once again, Jung

submits that the motion for summary judgment should be denied so that Jung can complete

depositions of additional persons with knowledge of the contractual relationship and
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insurance related agreements between McDonnel and Jung, including Allan McDonnel,

the insurance broker, and other individuals.

       The motion first seeks to strike the deposition testimony of Mr. Grayson Bultman,

who was at all pertinent times the senior project manager for McDonnel with respect to

The Jung Hotel. The motion should be denied, as Mr. Bultman, by virtue of his position

on the project does have sufficient knowledge. In his deposition, he was shown the

certificate of insurance that names Jung as an additional insured, and testified that the

producer listed on the certificate, Arthur J. Gallagher, is McDonnel’s broker, that he was

familiar with Arthur J. Gallagher from his work as a project manager, and that Arthur J.

Gallagher would not have been asked to issue a certificate of insurance naming Jung as an

additional insured if that wasn’t required by the contract. (See Rec. Doc. 113, Exhibit L,

pp. 367-368). He specifically stated “to my recollection, yes” when asked if the existence

of the certificate of insurance listing Jung as an additional insured indicated that was part

of the contract. (Id. at p. 368, lns. 12-17). Given the testimony that Mr. Bultman had a

recollection, the suggestion that he has no personal knowledge is unfounded. Notably, the

defendants did not attempt to traverse Mr. Bultman’s testimony regarding Jung being an

additional insured at all.

       Similarly, the declaration of Mr. Jaeger, the manager of Jung, also reflects personal

knowledge. The declaration states that Mr. Jaeger is the manager of Jung, that he is familiar

with the circumstances of Jung contracting with McDonnel, and that McDonnel agreed to

procure builder’s risk insurance and name Jung as an additional insured in that insurance.

(See Rec. Doc. 113, Exhibit M). It further recites that all of these facts were within the

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personal knowledge of Mr. Jaeger. (Id.). Additionally, the Construction Contract was

actually signed by Mr. Jaeger. (See Rec. Doc. 113, Exhibit A). For the defendants to

suggest that Mr. Jaeger does not have personal knowledge of the agreements between

McDonnel and Jung regarding the construction project is unfounded.

       The defendants attempt to argue that oral testimony cannot be used to alter the terms

of a written contract. However, they ignore the fact that the policies of insurance issued

by the defendants do not require that the agreement to name additional insureds be in

writing. The defendants attempt to impose a written contract requirement when the policy

wording contains no such requirement. An oral agreement to name Jung as an additional

insured is not contrary to the requirements of the insurance policies.

       Furthermore, defendants ignore the fact that the contract signed by Mr. Jaeger has a

provision in Article 17 right before the signatures that states that the contractor is required

to “purchase and maintain insurance” required in Article 11 of Document A201-2007. (Id.)

One of the types of insurance discussed in Article 11 of A201-2007 is builders risk

insurance. (See Rec. Doc. 113, Exhibit B). And in fact, McDonnel did purchase the

builder’s risk insurance. As such, the construction contract between the parties is embodied

in at least two documents, and taken together, those documents are less than clear.

Louisiana Civil Code article 2046, relied upon by defendants, only applies where the words

of a contract are clear. Similarly, the case law relied upon by the defendants is inapposite,

as it involves written contracts that specifically and clearly address the subject at issue. For

example, the Kenner City case involved the contract price, which was explicitly listed in

the written contract. Kenner City v. Nationwide Public Ins. Adjusters, Inc. 2008 WL

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2388380 (E.D.La. June 9, 2008). Here, the written contract at issue does not clearly address

additional insured status, and there is no reason to exclude the declaration and deposition

testimony.

       For the foregoing reasons, the Motion to Strike of the defendant insurers should be

in all respects denied.



                                                    Respectfully submitted,




                                                    _/s/ James M. Garner______________
                                                    James M. Garner (#19589) T.A.
                                                    Peter L. Hilbert, Jr. (#6875)
                                                    Darnell Bludworth (#18801)
                                                    Carson M. Garand (#38229)
                                                    SHER GARNER CAHILL RICHTER
                                                    KLEIN & HILBERT, L.L.C.
                                                    909 Poydras Street, 27th Floor
                                                    New Orleans, Louisiana 70112
                                                    Telephone: (504) 299-2100
                                                    Facsimile: (504) 299-2300

                                                     COUNSEL FOR THE JUNG, LLC


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing has been served upon all

counsel of record by depositing same in the U.S. mail, properly addressed and postage prepaid,

and/or by electronic mail, this 4th day of March, 2019.




                                                    _/s/ James M. Garner_________________
                                                    JAMES M. GARNER

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